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 8                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
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10                                              PLAINTIFF’S STATEMENT OF RECENT
11    THE WOMEN’S STUDENT UNION,                DECISION

12               Plaintiff,                     Civil Action No. 3:21-cv-01626-EMC

13               v.                             Judge: Honorable Edward M. Chen
14    U.S. DEPARTMENT OF EDUCATION,             Hearing: June 10, 2021, 1:30 PM (virtual)
15                                              Courtroom 5, 17th Floor, 450 Golden Gate Ave.,
                 Defendant.                     San Francisco, CA 94102
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                        PLAINTIFF’S STATEMENT OF RECENT DECISION
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            Pursuant to Local Rule 7-3(d)(2), Plaintiff the Women’s Student Union submits a
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     supplemental citation in support of its Opposition to Texas’s Motion to Intervene, ECF 27.
20
            On May 12, 2021, the U.S. District Court for the District of Massachusetts denied Texas’s
21

22   motion to intervene in other litigation regarding the U.S. Department of Education’s 2020 Title IX

23   regulation. Exhibit 1, ECF 170, Victim Rts. L. Ctr. et al. v. DeVos et al., 1:20‐cv‐11104‐WGY (D.
24   Mass. May 12, 2021). In a minute order, the court denied Texas’s motion as “untimely and without
25
     merit,” holding that “[t]he likelihood of internal review by the agency affords no grounds for
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     intervention.” Ex. 1.
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     Plaintiff’s Statement of Recent Decision - 3:21-cv-01626-EMC                             1
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 1   Date: May 14, 2021                              Respectfully submitted,

 2

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     Plaintiff’s Statement of Recent Decision - 3:21-cv-01626-EMC                       2
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 1                                     CERTIFICATE OF SERVICE

 2           I hereby certify that on May 14, 2021, a true and accurate copy of the foregoing was
 3
     electronically filed with the Clerk of Court using the Court’s CM/ECF system, which will send a
 4
     notification of the filing to counsel in this case.
 5
                                                               /s/ Lauren A. Khouri
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     Plaintiff’s Statement of Recent Decision - 3:21-cv-01626-EMC
